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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                        )
                                                )
            v.                                  )      Criminal No. 18-292
                                                )
ROBERT BOWERS                                   )

    ORDER LIMITING DISSEMINATION OF CERTAIN EVIDENCE INCLUDING
           DEPICTIONS OR RECORDINGS OF DECEASED VICTIMS


       AND NOW, this 28th day of May, 2023, upon review of the Government’s Motion to

Limit the Dissemination of Certain Evidence Including Depictions or Recordings of

Deceased Victims ("Motion"), this Court finds that there is good cause for this motion,

and it is hereby ORDERED that the Motion at ECF No. 1276 is GRANTED.

Specifically, the Government requests that “evidence depicting the bodies of the deceased

victims and certain recordings of 911 calls involving deceased victims not be posted on the

Court’s website or otherwise made available for rebroadcast, copying, or any other form of

republication by the public, including the media.”      The Government has not asked to seal

this evidence, only limit its distribution. Members of the public, including the media, will be

able to view the evidence in open court and hear any testimony about it. The defendant has not

objected to this request. Doc. No. 1118 at 3.

       Therefore, it is hereby ORDERED that evidence depicting the bodies of the deceased

victims and certain recordings of 911 calls involving deceased victims shall not be posted on the

Court’s website or otherwise made available for rebroadcast, copying, or any other form

of republication by the public, including the media.

                                                                  BY THE COURT:


                                                                   /s/Robert J. Colville
                                                                  ____________________
                                                                  Robert J. Colville
    cc: All counsel of record                                     United States District Judge
